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                           UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION


JERMAINE WILL DAVIS,

          Plaintiff,
v                                                  Civil Action No. 22-cv-00332

                                                   Hon. ____________________________
THE CITY OF GRAND RAPIDS, et al.

      Defendants.
________________________/

Tyrone Bynum (P82427)                              Elizabeth J. Fossel (P41430)
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        DEFENDANT’S NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §1446(b)

TO: Court Clerk                                        Tyrone Bynum, Counsel for Plaintiff
    U.S. District Court for the Western District       Law Offices of Tyrone Bynum PLLC
    of Michigan, Southern Division                     161 Ottawa Ave., NW, Ste. 309
                                                       Grand Rapids, MI 49503

       PLEASE TAKE NOTICE that Defendants, the City of Grand Rapids and the Grand
Rapids Police Department1, by and through their counsel, hereby remove the matter entitled
Jermaine Will Davis v. City of Grand Rapids, et al, Case No. 22-02397-CV and assigned to Judge
George J. Quist, which is currently pending in the 17th Circuit Court for the County of Kent, State
of Michigan, to the United States District Court for the Western District of Michigan, Southern
Division, on the bases set forth below:




1
    See footnote 2, below.
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                      STATEMENT OF GROUNDS FOR REMOVAL

1.     On or about March 17, 2022, an action was commenced in the 17th Circuit Court for the

County of Kent, State of Michigan, bearing Case No. 22-02397-CZ.

2.     Defendants the City of Grand Rapids and the Grand Rapids Police Department2 were

served on March 17, 2022 when counsel for the Plaintiffs hand delivered a copy of the Summons

and Complaint to the City Attorney’s office.

3.     A copy of the summons and complaint, which constitute all process and pleadings received

from Plaintiff in this action, and of which the City of Grand Rapids has notice, are attached as

Exhibit A.

4.     This notice of removal is being filed within 30 days after receiving notice of the complaint

by service or otherwise as required by 28 U.S.C. §1446(b).

5.     This Court has jurisdiction over this case based on federal question jurisdiction pursuant to

28 U.S.C. §1331 and supplemental jurisdiction over any state-law claims pursuant to 28 U.S.C.

§1367. The Federal Court’s jurisdiction was acknowledged in the Complaint itself. (Compl. ¶15.)


                              PLAINTIFF’S FEDERAL CLAIMS

6.     Plaintiff alleges that he suffered damages because of Defendants’ alleged deprivation of

his civil rights, in violation of 42 U.S.C. §1983. (Compl. Count I, Ex. A.)

7.     Specifically, Plaintiff alleges that he was subjected to violations of the Fourth, Fifth, and

Fourteenth Amendments of the U.S. Constitution when he was detained and searched. (Id.)




2
  The Defendants deny that the Grand Rapids Police Department is an appropriate Defendant, as
it is a department within the City of Grand Rapids and is not a separate legal entity which can be
sued in its own right. Plaintiff struck out the Grand Rapids Police Department on the Complaint
served on the City, however, the GRPD remains a party according to the Circuit Court’s records.
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            THE OTHER REMOVAL PREREQUISITES HAVE BEEN SATISFIED

8.     On information and belief, the only Defendants which has been served is the City of Grand

Rapids. The only parties which have had summons issued are the City of Grand Rapids and its

department, the Grand Rapids Police Department, both of which consent to the removal. The

Plaintiff has included individual and unidentified police officers in his Complaint, but no summons

have yet been issued for those individuals nor have they been served.

9.     No Defendant has sought similar relief with respect to this matter.

10.    The prerequisites for removal under 28 U.S.C. §1441 have been met.

11.    Written notice of the filing of this notice of removal will be given to the adverse parties as

required by law.

12.    The allegations of this notice are true and correct and this cause is within the jurisdiction

of the United States District Court for the Western District of Michigan.

       Defendants, City of Grand Rapids and the Grand Rapids Police Department, file this notice

of removal and removes this civil action to the United States District Court for the Western District

of Michigan. Plaintiff is notified to proceed no further in state court unless or until the case should

be remanded by order of said United States District Court.

                                                        Respectfully submitted,

                                                        THE CITY OF GRAND RAPIDS,

Dated: April 6, 2022                                    /s/ Sarah J. Hartman_______________
                                                        Sarah J. Hartman (P71458)
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                                                        and Grand Rapids Police Department
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